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DEBORAH D. PETERSON,
Personal Representative
Of The Estate Of
James C. Knipple (Deceased), et al.
                    Plaintiffs



v.                                           Civil Action#1:01CV02094(RCL)



THE ISLAMIC REPUBLIC OF IRAN, et al.
               Defendants



                    REPORT OF SPECIAL MASTER
                 PURSUANT TO ORDER OF REFERENCE
            CONCERNING COUNTS DLXXIX THROUGH DLXXXIII

                        DANNY GORDON WHEELER
                         COMMANDER U. S. NAVY
                   CURRENTLY SERVING IN THE RESERVES


       In accordance with the Order of Reference entered pursuant to the provisions of

Federal Rule 53, the Special Master has received evidence with regard to all issues of

compensatory damages from witnesses as below set forth. This is an action for personal

injury resulting from an act of state-sponsored terrorism. The following findings of fact

are based upon the sworn testimony and documents entered into evidence in accordance

with the Federal Rules of Evidence and have been established by clear and convincing

evidence.

                                      OVERVIEW

       Danny Wheeler was born on May 29, 1948, in the United States of America. He

is the son of Gordon Wheeler and Molly Wheeler (Deceased). He is one of the four




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children. Danny Wheeler is married to Brenda June Wheeler and they have three sons,

Andrew, Jonathan, and Benjamin.

       The Special Master takes Judicial Notice of the United States Life Tables

published by the National Center for Health Statistics in 2003 that the above statistical

life expectancy of a white male, age 58 is an additional 22.1 years.

       On October 23, 1983, DANNY WHEELER was 35 years of age, serving in the

United States Marine Corps, 1ST Battalion, 8TH Marine Regiment, 2nd Marine Division

assigned to the 24th Marine Amphibious Unit in Beirut, Lebanon.

       On October 23, 1983, the building housing the Marine Battalion at Beirut was

attacked by a suicide bomber operating a truck which penetrated to the center of the

building where the operator detonated a large explosive charge completely collapsing the

building resulting in the deaths of 241 American Service personnel and wounding almost

every other Marine in and near the building.

       Danny Wheeler has conclusively proven that on October 23, 1983, he was

sleeping in the BLT Headquarters Building in Beirut, Lebanon, at the time of the terrorist

attack and explosion.    The force of the explosion destroyed the BLT Headquarters

building. Danny Wheeler was buried alive in the smoldering building rubble, wounded

for 5 ½ hours until he was rescued.     While he was trapped dead, dying, and wounded

Marines surrounded him. Danny Wheeler was the last living Marine rescued in Beirut.

                                     FINDINGS OF FACT

   1. DANNY GORDON WHEELER was born on May 29, 1948, and at all

times Danny Wheeler and every member of the Wheeler family was and has remained a




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citizen of the United States of America. Danny Wheeler has four siblings. On October

23, 1983 Danny Wheeler’s mother was alive.

       Danny Wheeler met Brenda June Wheeler, his future wife on September 3, 1965,

at a high school football game. Both played in the high school band. They met and

began to talk about their summer experiences at a bible camp and then shared their hopes

and dreams.

       Danny Wheeler enlisted in the United States Army on February 14, 1968 and

married Brenda Wheeler on June 29, 1968. Danny Wheeler served a one-year tour in

Vietnam. Danny Wheeler and Brenda Wheeler have three children, Andrew Wheeler

born February 13, 1976, Jonathan Wheeler born March 9, 1978, and Benjamin Wheeler

born February 6, 1981. After his discharge from the Army, Danny Wheeler graduated

from the University of Wisconsin with a degree in psychology and then went on to four

years of graduate school at the Lutheran Northwest Seminary in St. Paul, Minnesota.

Danny Wheeler received a Master’s Degree in Divinity and was ordained.

       Danny Wheeler’s first assignment was to a two-point parish in Mondovi,

Wisconsin, and he held that position for four or five years. In December 1982, Danny

Wheeler was watching a television newscast about Beirut and he testified that he asked

for God’s guidance. One week latter he received a call from the Naval Lutheran Chaplin

endorsing authority in Washington, D.C., asking if he would be interested in becoming a

Navy Chaplin. Danny Wheeler believes that this telephone call was a message from God

telling him to serve. He applied and was accepted into the Navy Chaplin Corps and

received orders to report to Camp LeJeune, North Carolina after completing Navy

Chaplin’s school in Newport, Rhode Island. Navy Chaplains serve the Marine Corps. At




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34 years of age Danny Wheeler reported for duty with the United States Marines on

December 7, 1982. In May 1983 he was deployed to Beirut, Lebanon, with the 24th

MAU.

       Danny Wheeler spent two weeks crossing the Atlantic to the Mediterranean to get

to Beirut, Lebanon. On the USS Austin he shared quarters with 4 or 5 other Junior

Officers, all in their early twenties. That first part of the trip was hard for Danny Wheeler

because he was the old man. But for a week he got to know some of the men. Danny

Wheeler and his assistant John Olson were transferred to another ship during the trip and

they took the 1st Lieutenant’s stateroom. On the second ship Danny Wheeler was the

only Chaplain. There Danny Wheeler and John Olson began bible studies together and

set that up for the crew and prepared for deployment. Danny Wheeler had hand picked

John Olson to be his assistant. John Olson was a good right hand.

        Danny Wheeler arrived in the Beirut area the night of May 28, 1983 and

deployed, by helicopter, he didn’t want to get his feet wet, on May 29, 1983. At the

Beirut airport he was met by a jeep and driven to the BLT. The building had previously

been bombed and there were no windows and no power. The Marines’ generators

supplied electricity.

       Danny Wheeler then reported to the 4th deck (floor) of the BLT Headquarters

Building were he met the prior Chaplain, made the necessary exchange and sat and talked

to his predecessor listening to stories about Beirut and talking about a wall in the

room/office which was signed by all the prior Chaplains’ with messages and blessings.

They took a picture beside that wall. The MAU Chaplain was a Catholic priest “Pooch”

who was the same age as Danny Wheeler; these two Chaplains became close friends.




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Danny and his assistant John Olson became the best of friends, like family. They shared

the same room. They did everything together.

       Danny Wheeler visited every Marine position, listened to their problems,

counseled them, provided support in time of stress and held religious education and

religious services. Every day Danny Wheeler held worship services. When the tactical

situation got bad, they took their first casualties and Danny Wheeler did a lot of listening.

       Two months after deployment, the Marines suffered their first casualty. Their aid

station really was just a Band-Aid. This first casualty was a Marine who was wounded

by a sniper, he was just walking the perimeter, and part of Chaplain Danny Wheeler’s job

was to be available at the aid station. Doctor Hudson tried to save the Marine’s life, but

Doctor Hudson told Danny Wheeler “he couldn’t do anything more.” Chaplain Wheeler

held the wounded Marine in his arms and prayed the “Our Father” as the Marine died in

Danny Wheeler’s arms.        Later Danny Wheeler learned that the Marine was from

Minnesota and was Jewish. Danny Wheeler sought out the Rabbi who counseled Danny

Wheeler that he had done the right thing and it wasn’t a problem; the Rabbi said that the

young Marine had the best of both worlds.

       Pastor Wheeler next was called to the aid station when two Marines were

wounded in a rocket attack which exploded as they were changing the guard. They were

killed by the sharp pieces of shrapnel, burning hot shrapnel. The Marines were brought

into the aid station, dead-on-arrival. Hot metal shrapnel shards had penetrated each

Marine with holes so small you could not tell where they had been wounded.                 In

addressing the casualties Wheeler discovered something about himself, he discovered

that he loved them, he was one of them, he walked with them and stayed with them.




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       1st Sergeant David Battle’s room was across the hall from Danny Wheeler’s room

and the next night they were talking, as they often did. They received a real time report

that an officer, a flight observer, a lookout, from Alpha Company had been killed by a 50

caliber round. 1st Sergeant Battle told Chaplain Wheeler to “keep on moving.” That

Marine Officer had a new child and was a member of Chaplain Wheeler’s bible study

class. The next day Chaplain Wheeler rode in an armored personnel carrier in convoy to

Beirut University to recover the body. The body was sacred; it was a Marine. Before the

recovery Chaplain Wheeler held a memorial service and the whole Company turned out

to participate. Chaplain Wheeler had one altar and he carried Catholic sacramental

wafers blessed by the Catholic Priest “Pooch” and the Lutheran Sacrament. Around one

altar that entire Marine Company worshiped; the Catholics approached on one side of the

altar and the Protestants on the other. The body of the dead Marine was recovered,

placed with respect on a truck and transported to the airport. Encouraging words of faith

needed to be spoken. It was a day Chaplain Wheeler said he will never forget. He knew

something had to be said and the Marines were suffering from the loss of one of their

own.

       The Marines held the middle ground between two opposing forces and they were

always taking “short rounds.” They were the targets. They were routinely on highest

alert and on one attack Danny Wheeler was on the fourth floor watching the attack on the

Beirut International Airport Terminal and the four planes of the Lebanese Air Force.

Shells were being fired from the mountains and the rounds were getting closer and closer.

1st Sergeant Battle was able to count the shells going over their heads and asked Chaplain

Wheeler, “When will it be our turn.”




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       The Marine Rules of Engagement prohibited shooting back. When shells got too

close to Headquarters, the battleships, stationed off-shore, fired at the insurgents’ firing

positions with large rounds which quieted the attacks in order to protect the valley. The

24th MAU had tank units assigned to each Company and the tanks had their sights set on

the insurgents’ artillery positions but they were not allowed to fire.

       Danny Wheeler testified that he was standing on the balcony watching the Israeli

troops withdraw and he thought the Marines had crossed the neutral line and he thought

that the Marines should have left with the Israeli troops.

       1st Sergeant David Battle and Danny Wheeler were both Vietnam Veterans’. 1st

Sergeant Battle was one of Pastor Wheeler best and closest friends. They often talked all

night and they both knew something was going to happen and things were getting very

bad. They were both more afraid than they were in Vietnam because they both observed

that the politicians, administration, and even the Ambassador didn’t know what they were

doing and Pastor Wheeler and 1st Sergeant Battle knew they were not going to get out of

Lebanon without something terrible happening. Battle’s job was to take care of the Unit

and Wheeler’s job was to take care of the Battalion.

       On about October 21, 1st Sergeant Battle went to speak to Chaplain Wheeler and

asked to be baptized. Danny Wheeler was overjoyed and scheduled the ceremony for

that afternoon, they arranged for the Company baker to make a cake and the baptism was

witnessed by the Company Gunnery, an old Baptist. With gunfire in the background, all

three in attendance had tears in their eyes; Chaplain Wheeler baptized his close friend. 1st

Sergeant Battle was killed two days later in the terrorist attack. He was rescued from the

rubble giving orders. The story is told that he stood and took several steps and fell dead.




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       On the evening of October 22, 1983, the Marine detachment reduced their threat

level from “condition 1” to a less defensive mode, and Danny Wheeler and John Olson

were allowed to return to the fourth floor to sleep in the hallway. This was the first time

in many days they were out of the basement. Danny Wheeler said good night to Doctor

Hudson who was sleeping in the fourth floor hallway outside Danny Wheeler’s room.

Danny Wheeler and John Olson liked sleeping in their own room and so they did.

Danny Wheeler and John Olson climbed into their bunks, wearing their flack jackets, and

Danny Wheeler told John Olson “See you in the morning.” Danny Wheeler’s bed was

against the inside wall; the wall where all the previous Chaplains had signed their names

and left their blessing. Danny Wheeler believes that was what saved his life.

       Danny Wheeler woke up thinking he had to go to the bathroom, but he testified

that he didn’t know what happened. His head was wedged in the cement blocks, there

was no ceiling anymore but instead the wall was against his back, his torso bent over with

one wall on his body and another wall held up by almost nothing. Danny Wheeler cried

out as long as he could until his voice gave out. Chaplain Wheeler testified that he was

scared and he spent time talking to God and lapsing into craziness. He had periods of

hysteria but tried to keep his focus; he knew he must keep his focus. As he waited,

trapped and injured he began to hope for rescue. He was surrounded by the voices of the

injured and dying around him asking for God to help them. They all hollered with all

their hearts and minds for someone to help them. It was a number of hours, a long time.

       After many hours, Danny Wheeler heard the voice of his friend Pooch the MAU

Chaplain, a Catholic Priest. Danny Wheeler tried to cry out but it was only a whisper “I

am here come get me” and his rescue began. During his rescue the others were trying to




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figure out what to tell Chaplain Wheeler’s wife, Brenda. They told her he was okay and

was not in the blast but that was not true. Chaplain Wheeler found out later that they

found him because of finding his Advent Stole that was hanging over the place where he

was buried, not because of his yelling. As the rubble was removed, the building shifted

and Danny Wheeler knew the rubble surrounding him could easily crush him. Wheeler

did not want to be crushed and he became angry with God. Danny Wheeler became

upset as the rescuers moved closer to his location slowly. The wall on his back began to

shift and fall on him and his breathing became difficult. He learned that the diaphragm is

the key to breathing. He knew he was being crushed little by little, his head, trapped in a

cement block, was being pushed harder and harder into the cement block.             Danny

Wheeler did not know how much he could take. Danny Wheeler kept talking, and when

he couldn’t talk he made noise using a Meals Ready to Eat “MRE” box and his watch.

They kept saying, “hang on buddy” but as time went on it did not matter anymore

because he was dying. Before that he worried about dying but not anymore. He ask for

God’s help and God helped him, he was at peace and it was okay to die. Danny Wheeler

testified that as they were trying to rescue him he felt the souls of the other Marines

hanging on to the edge of life.

       Danny Wheeler went thought various stages: first anger, then resignation as his

death approached, he felt sorry for his wife and three sons but he resigned himself to

death, then there was no fear. There was someone in the rubble above him that they had

to rescue first and Danny Wheeler held on to his faith that he was ready whether he lived

or died. Danny Wheeler kept track of the rescue progress by the amount of sand going

down his back. When the walls were removed he was able to finally sit up but his foot




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was still trapped. He could feel a breeze and it felt very good to him. Chaplain Wheeler

was asked if he wanted anything and he asked for water. He thought he would never take

a drink of water again. They passed up a canteen of water that normally tasted terrible

but then it tasted so good and so sweet to him. The Marines tried to get his foot out but

they couldn’t move the rubble and Danny Wheeler just told them to lift and pull as hard

as they could on his foot. They did and his foot came free. Chaplain Wheeler then

testified that he was told that he stood up and began looking for John Olson who was

only seven feet from him when they went to bed. Chaplain Wheeler fell and was caught

by Marines and put on a stretcher. The last one the Marine’s found in the rubble was

John Olson; he had died sleeping just a seven feet away from Chaplin Wheeler.

        Pooch met the stretcher and put the folded Advent Stole under Danny Wheeler’s

head and told him that the Stole was over his head and helped the rescuers find him. A

small Italian ambulance took Chaplain Wheeler to the Italian aid station and only the

nurse spoke English. His clothes were removed, he was cleaned, and nurse told him that

a doctor was going to touch him and just tell him if it hurt. Everywhere the doctor

touched him it hurt. They washed him down and it felt like they were rubbing him with

sandpaper. Danny Wheeler had flash burns, and his skin felt rough, like sand paper and

he was unable to sit, stand, or walk. Every place the Doctor touched hurt and his burns

were treated and they took one dog tag, put it in a bag and tied it to his ankle and med-

evacuated him to a ship.

       Aboard ship, Danny Wheeler did not want to be alone. He was again med-

evacuated back to LZ Brown at Beirut Airport where he was met by Pooch and the other




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Chaplains. They all blessed him and he was taken on a jeep to an Air Force medical

plane and flown to Naples, Italy.

        Danny Wheeler was the last Marine recovered alive and he was trapped for 5 ½

hours. His assistant John Olson was the last Marine recovered and his remains were

found in the basement. His friend Doctor Hudson and 1st Sergeant Battle were both

killed in the blast.

        Danny Wheeler suffered soft tissue damage (crushed chest & sternum), flash

burns, and he was hospitalized for about a week. He didn’t have any broken bones but he

still suffers for the soft tissue damage, back problems, internal problems, and scars. In

the hospital in Naples, Italy, Danny Wheeler was hospitalized with ten other Beirut

Marines. Chaplain Wheeler still couldn’t talk but he was able to cry. He asked to have

the casualty list read to him as it became available. Danny Wheeler remembers going out

on the balcony of the fourth deck of the hospital and smelling sulfur, the hospital was

right near an active volcano. He was nervous about that. He left the hospital because he

did not want to stay in the hospital anymore. A psychologist debriefed him; it was short

and that was fine with him because he did not want to talk about it. He was grieving and

he is still grieving to this day.

        Danny Wheeler began to understand the scope of the trauma in Naples. A Marine

in the bed next to him asked if he could do anything to help him. Danny Wheeler began

to understand that his friends and Parish were gone. This trauma has been a part of his

life since the blast. His heart, spirit, and his friends were all gone and he misses them.

        Danny Wheeler testified that he first sought help in 2003; a list of his Veterans

Administration Hospitals is attached as Exhibit 16. He knew something was wrong.




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From 1983 until he sought counseling Danny Wheeler testified that he wasn’t the

husband and father he should have been. He was home from Beirut but it took all these

years to start to feel like he was back home. He did not want anyone to know he was

“broken.” He testified that he wasn’t ready to recover and he didn’t want the Chaplain

Corps to know he was suffering emotionally and had a psychological disorder.

       Danny Wheeler testified that he couldn’t sleep, and he wrote letters to his friends.

The almost total loss of his friends and his Congregation in Beirut created a huge hole in

his life. Pastor Wheeler kept a personal journal and Exhibit’s 5, 6, 7, 8, 9, 10, 11, 12 and

13 are extracts from that journal. He used his personal journal to help to deal with the

hurt. He wished he had died so that he did not have to deal with the emotional and

psychological aftermath of the bombing. He was empty and felt that he had no spirit. He

was in and out of depression. He mourned and grieved for his lost friends by writing love

letters in his journal to his friends that were killed in the bombing. His journal was his

only counselor for twenty years.

       Chaplain Wheeler was unable to discuss his emotional and psychological

problems until 2003 when he knew he needed help.               He went to the Veterans

Administration in St. Cloud, Minnesota, and spoke to the Veteran Administration

Chaplain. This Chaplain Counselor had never been in combat but he understood what

PTSD was and gave Danny Wheeler reading materials. Danny Wheeler then found a

second Veterans Counselor who suffered from Post-Traumatic Stress Disorder and

Danny Wheeler was able to speak to that counselor and it helped.

       From 1983 to 2003 Danny Wheeler had not sought help for his Post-Traumatic

Stress Disorder. Danny Wheeler believes he is beginning to get control of his emotional




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and psychological health. He feels a debt of gratitude to his counselor for helping him to

deal with his issues. He is still a Navy Chaplain because he wants to help the young men

and women. In 2003 Danny Wheeler went to the V.A. in St. Paul so that it was far away

from his Parish. The last person Danny Wheeler spoke to about his PTSD is Charlie and

that opportunity is always available.

       Danny Wheeler has never shared his Beirut traumatic experience with his wife; he

believes she knows about how he feels. Danny Wheeler testified that he knows he was

not the best husband or father. He did not know how to act since the bombing. His wife

has accepted him with all his weaknesses and emotions.

       From his release from the hospital in 1983, Danny Wheeler testified that he has

been unable to sleep normally, he is obsessed with his family security, he locks all

outside doors and windows, he locks interior doors, he is suspicious of ethnic groups, and

he sees people in the shadows at night.

       Danny Wheeler knew he had to get out of the regular Navy, he knew he couldn’t

survive another deployment and he knew the strain on his family would be enormous. He

enlisted in the Naval Reserve and holds the rank of Commander.

       Danny Wheeler acknowledged that he operates on two levels; the first superficial

level is his public ministry to his current Parish, where his parishioners believe him to be

a great Pastor. There is a second level which is Danny Wheeler’s emotional and personal

life and psychological health and his inter-personal relationships with his wife and sons.

Danny Wheeler has been diagnosed with PTSD and he has just begun to address his

emotional health and family relationships.




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       From October 1983 to 1985, Danny Wheeler was in physical therapy for the

wounds he received in the Beirut bombing. During this time frame he was also issued

pain medication which helped him deal with the pain and helped him sleep. From 1985

to present he takes Tylenol with codeine for pain. From 1983 to the present Danny

Wheeler suffers from the affects of the burns he received and soft tissue injury from

being crushed. In 1986 when Danny Wheeler first returned he had contact with the Red

Cross and x-rays determined that he arthritis. Danny Wheeler was awarded a 10%

disability. This was a result of his physical injuries from the bombing.

       He is telling his story just so that no one will forget what happened to everyone in

Beirut in the 1983 bombing. If the bombing had not happened to Danny Wheeler he

would have made a career of being a Navy Chaplain. He does not regret getting out and

being a civilian Pastor but it is important to him to be Navy Reserve Chaplain. He wants

those involved with this litigation to “take care of his people and for the sake of their

memory may they never forget.” Danny Wheeler is a member of the Beirut Veterans

Association. He went to the twentieth year reunion, before that he was afraid of who he

might meet or what he might meet. At the twentieth reunion he saw some of the children

of the Marines that were killed. It was good and some even look like their fathers. He

feels he will always be their Chaplain.

       Danny Wheeler wants an apology from the Iranian leaders and justice for the

terrorists and the Iranian leaders. He wants them to take it back. He wants them never to

forget what they did.

   2. BRENDA JUNE WHEELER was born July 3, 1950 and she is married to

Danny Wheeler. She met her future husband on September 3, 1965 at a high school




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football game in Barron, Wisconsin. Both Brenda Wheeler and Danny Wheeler were in

the band. They shared common interests and shared their experiences at a bible camp.

The discussed their hopes and dreams and there was little question that they would get

married. On February 14, 1968 Danny Wheeler enlisted in the United States Army and

on June 29, 1968 Danny Wheeler and Brenda Wheeler were married. Two months after

basic training Danny Wheeler was in Virginia and he received orders to go to Vietnam.

In September 1968 Danny Wheeler was deployed to Vietnam and spent one year working

in the military post office. He returned in September 1969. The Wheelers have three

children.

   Brenda was more worried about her husband when he was in Vietnam than when he

was in Beirut. She knew he was a postal clerk, in Vietnam, but she didn’t know where he

was stationed; all she knew was he was far away even though Vietnam was on the news

all the time. When Danny was in Beirut she saw more specifics on the news and knew

exactly where he was and she was less worried.

   Brenda Wheeler and Danny Wheeler married before Danny Wheeler went into the

Army and went to college together after his discharge. Danny Wheeler graduated from

the Seminary, he was ordained a Minister and assigned a Parish with two churches.

Brenda Wheeler spent 5 years in this Parish as their children were born. Danny Wheeler

had two churches and Brenda Wheeler had evening meetings and she was a stay-at-home

mom. Danny Wheeler not really involved in day-to-day life. Brenda Wheeler said her

husband was emotionally available for his children but he was deeply involved with his

two parishes. These were small churches and the parishioners were farmers and had a lot

of women with children. Danny was a workaholic and spent little time with Brenda and




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the children; she felt like a single mom. Brenda felt that they would have a more normal

home life if Danny would return to the military.

       Danny Wheeler spoke to her about going back into the military; Brenda Wheeler

testified that it was a joint decision for him to join the Navy. In 1982, Danny Wheeler,

his wife, and three young sons moved to Jacksonville, North Carolina. From November

1982 to May 1983 they were able to live together as a family, but from May to October

1983 Brenda Wheeler was left to care for her sons.

       Brenda Wheeler testified that her husband wanted to be deployed to Beirut with

the Marines. Danny Wheeler spoke to a few Marine Chaplains about Beirut and Brenda

Wheeler thought that if they could survive Vietnam they could go through anything.

Brenda felt his Vietnam experience would help him to minister to the Marines in Beirut.

Brenda Wheeler recalls her husband as a workaholic and she rarely saw him. While he

was in the Navy they had a real home life in Jacksonville, North Carolina, but it lasted

only six months.

       Brenda Wheeler believed the deployment to Beirut was just a peacekeeping

mission at the airport with U.N. support; it was not a war and they were just there to keep

the peace. After Danny Wheeler arrived in Beirut he called his wife every couple of

weeks and wrote her letters every other day. His letters discussed his many friendships

with the officers and men of the 24th MAU. Danny became very attached to a number of

the men in Beirut.

       For the first couple of months everything was quiet; every once in a while there

would be snipers on the hillside. By the end of August 1983 the Marines were on high

alert. They were not as free to walk around. She knew her husband was traveling and




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visiting the Marine Companies and that was a little scary. Five or six of the men were

killed and she was concerned for his safety.           She saw her husband frequently on

television.

       In August 1983, Brenda met her husband in Greece and on their return the 24th

MAU suffered their first casualty. Chaplin Wheeler told his wife not to worry; the

Marines protect their Chaplains. Danny said his assistant would protect him. Brenda and

her sons lived in a military town and everybody knew everyone and what was going on

with the 24th MAU. Brenda did not share her concerns wit the children.

       On October 23, 1983 she was sleeping and she got a phone from another

Chaplin’s wife who told her about the Beirut bombing and she told Brenda Wheeler that

the building destroyed by the bomb was his building which housed the Chaplains. By

7:00 A.M. CNN was reporting that not a lot of people were being rescued alive. Brenda

Wheeler knew it was her husband’s building. She called her parents but they were not

home and she left a message at their church with their Pastor to have her parents call her.

At the same time another Marine Unit was involved in the Grenada action which was also

in the news and the Marine wives were mad because they thought the troops should be

going to relieve the men in Beirut.   Brenda Wheeler did not know if her husband was

dead or alive. The building was crushed and the worst part for Brenda was that she did

not know her husband’s status.

       About eight hours later Brenda Wheeler got a call from a Chaplin in Naples, Italy.

She was told that her husband was in Naples in the hospital and he had spoken to the

Chaplin. The Chaplin told Brenda Wheeler that her husband suffered crushing injuries




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and they were not sure if there was internal damage. He was in pain and bruised all over

but the medical staff did not think his injuries were life threatening.

        On October 23, 1983, when her sons woke up she told them about the attack,

Brenda Wheeler could not turn off the television, her sons only watched a little. She

recalled that her son Jonathan, then five years old, made them lunch. Brenda hugged her

sons throughout the morning. Brenda Wheeler played the piano loud and walked around

the house trying to keep composed. Other Marine wives were calling and it was hard

because no one knew anything. Brenda Wheeler was one of the first wives to receive

word about her husband. The first day almost no one received information; on day two

information started to trickle into the wives.

        Brenda Wheeler testified that she spent a lot of time on the phone with a wife who

had just married and who went to Greece to visit her husband just after Brenda Wheeler

made her trip. The wife of one of the senior officers of the 24th MAU used her home as

the headquarters of information for the Beirut Marine wives. Brenda Wheeler testified

that there was a lot of hugging and crying among the wives. The Marines Corps assigned

a contact person to the group. The wives just tried to give everyone support to cope with

the situation.

        Brenda Wheeler spoke to her husband on Monday, October 24th. She kept her

children home from school, she knew her husband was alive but she just was not ready to

let her sons leave her.    She still did not know when her husband was coming home.

Danny Wheeler told Brenda two things that she was to relay to other wives. First, that

Chris Kaldry pulled him out of the rubble so she was to tell his wife that he was alive and

well. Brenda called his wife Donna and told her that her husband was alive and well




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because he pulled Danny out of the rubble and she was relieved because she had not

heard anything yet. Second, Danny wanted Brenda to tell David Battle’s wife that the 1st

Sergeant was baptized the day before the attack. Brenda Wheeler said that the story

which she was told was that 1st Sergeant Battle was pulled out of the rubble and was

giving orders then took a few steps and fell dead. 1st Sergeant Battle’s wife was the first

of many to learn their husbands had been killed. Brenda Wheeler was one of a small

group of three wives who visited the other Marine wives and checked in with them.

       Brenda Wheeler was working at the time of the attack but told her employer she

was taking off from work and she did not know when she would return. It turned out that

she took about a month off work. Her husband came home about a week latter. Danny

Wheeler spent four days in the Naples hospital and he was flown home by a commercial

airliner. He was supposed to be flown to Jacksonville, North Carolina, and one of the

base Chaplin’s was to drive Brenda Wheeler to the airport. Fog forced the plane to divert

to Charlotte and her husband returned home by bus at 2:00 in the morning. Brenda then

called a friend to come and stay with her sons so that she could pick up Danny in the

early morning. Brenda Wheeler didn’t know what to expect when he came home. It was

surreal. She did not know how he would look. When he came home he was happy and

they woke the kids just so he could say, “I’m back”.

       When her husband arrived back in Jacksonville, he had chest injuries and back

injuries, stitches in his ear, and his face had speckles from flash burns. He was still

hurting.   When he spoke about Beirut Brenda realized he had no idea of how many

casualties the unit had and Brenda explained what she knew. While he was in Italy no

one told him about the extent of the casualties.




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       Before October 23, 1983, Brenda Wheeler testified that her husband did not suffer

from depression and used to speak in a loud and booming voice. When he returned home

from Beirut you could hardly hear him speak, he spoke in a quiet voice filled with

sadness. Danny looked sad.

       Brenda Wheeler got involved with a support group for wives whose husbands

survived; its mission was to deal with survivor’s guilt. Danny had survivor guilt. Danny

Wheeler was in physical therapy and, Brenda Wheeler testified, he “spoke to some

people on the base.” Her husband was acting differently and there was nothing Brenda

Wheeler could do to bring him out of it. It was still such an emotional time for Danny.

The way he talked and acted was different than before the attack. Danny did not want to

talk about it and he felt he had not changed. Just as with the spouse of an alcoholic,

Brenda felt she needed help to learn how to deal with her husband. Brenda Wheeler

testified that this trauma brought them closer.

       Brenda Wheeler testified that her husband no longer has close friends and she

believes that he doesn’t want to trust the “friend” relationship because he is afraid of

losing them. Brenda Wheeler believes her husband is her best friend and she is his. They

do many things together that other people normally would do with friends.

       While they lived in North Carolina the trauma for the other Marine families was a

part of their lives. Families of deceased Marines would call her husband for group

discussions and these were very difficult meetings. Danny Wheeler would always try to

help others because he was a survivor and a Chaplain. Brenda Wheeler testified that her

family was not happy and they were not ready to be happy. Her husband didn’t smile; he

was becoming more distant from his sons; he didn’t take an interest in their school




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activities or sports, so Brenda Wheeler filled in as both mother and father to their sons.

Brenda felt bad about this because Danny was missing important and fun times with their

children.

        Danny Wheeler was transferred to Corpus Christi, Texas, and they had housing on

the base. It was a better family time living in Texas. Brenda Wheeler saw depression

develop in her husband. His facial expressions changed and she thought he no longer

wanted to be involved with people. He wanted to be closed in to himself, he still doesn’t

socialize with either friends or family, and he is not close to other people.

        Brenda Wheeler testified that her husband dealt with his emotional and

psychological trauma on his own. Brenda Wheeler was not excited to talk about those

problems because they were not pleasant. She always listened when Danny talked but it

was very hard for her to cope with his condition.

        Over time and very gradually, only after her husband saw a Veterans

Administration counselor in Minnesota, did he start to get better.            Brenda Wheeler

testified that her husband still has no friends and he is not where he should be at this time

on his life. She testified that her husband loves the Navy. Danny returned to the military

in the Navy Reserves. When he comes back from training he tells her that he is asked

about his experience, it is good for him to talk about it, the more he does it the better it is.

        Danny Wheeler got out of the Navy in Corpus Christi and went back to the

Ministry. For ten years, Brenda Wheeler testified that her husband would start a job and

quickly wanted to go on to something else. She testified that her husband did not provide

his sons with a happy home life. Danny loves his children but he was incapable of being

a better father. The children were so young when the attack occurred and they did not




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know any different family life. The family has very few friends and they are not close

with their relatives because Danny cannot handle it since Beirut.

       When their son Andy had his first child at age nineteen, the mother of the child

left him when the child was seven years old and Andy has weekend visitation. Andy is

now married and they are expecting their first child, Andy’s second child. Andy would

have been better off if his father had not gone on active duty. Andy has suffered some

depression in his life which Brenda attributes to Danny’s absence and emotional

unavailability.

       Not a day goes by when the Wheeler family does not think about Beirut, the

memory never leaves, and it is always there over your shoulder. The Beirut attack is a

part of their lives and it will never leave them.

   3. ANDREW GORDON WHEELER is the oldest son of Danny Wheeler and he

was born February 13, 1976. Andrew Wheeler he is married and has one child from a

previous relationship, his wife Rita is pregnant and due in June 2005. On October 23,

1983, Andrew Wheeler was eight years old.

       Andrew Wheeler knew his father was in the Navy and deployed to Beirut.

Andrew knows his father wrote him while he was there but Andrew Wheeler doesn’t

remember the details of his father’s deployment and he did not know his father was in a

combat zone. Andrew Wheeler does remember seeing his father on TV newscasts but he

did not know the situation in Beirut at the time.

       Since October 23, 1983, Andrew Wheeler testified that his father has many

physical and emotional issues. His father has explained how he survived and how the

Marines found him after the attack and how he got his Purple Heart. Andrew Wheeler




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recalled his father before October 23, 1983 as a happy-go-lucky person, “a big strong

military guy,” but after the attack he described his father as more sad and scared. He has

seen his father cry and knows his father has a problem sleeping. Andrew Wheeler firmly

believes his father suffered from depression, off and on, from 1983 to the present. His

father is more emotional since 1983 and keeps to himself. Andrew Wheeler testified that

his father’s emotional health and emotional unavailability has adversely affected their

father son relationship.

        On occasion Danny Wheeler’s sons have spoken among themselves about their

father’s health but they have never spoken to their father about it. Andrew Wheeler

testified that his father is getting better now.

        From 1984 to 1986 Danny Wheeler was stationed in Corpus Christi, Texas, and

Andrew Wheeler was about to ten years old. Andrew Wheeler testified that his father

and mother argued almost every day for six months and Andrew Wheeler believes they

were going to get a divorce. His parents never fought before they moved to Texas.

Andrew Wheeler testified that after six months his parents stopped arguing.

        Andrew Wheeler testified that when his family moved back to Wisconsin life

improved. Danny Wheeler was closer to his family. Andrew Wheeler believes his father

had emotional issues from 1983 to 2002 and Andrew Wheeler was very concerned about

his father. Andrew felt helpless. Andrew Wheeler got married in 2002. Andrew

Wheeler testified that when the family returned to Wisconsin they went on vacations and

Andrew Wheeler recalls they didn’t take any vacations while they were living in Texas.

In Wisconsin Danny Wheeler was available to his sons; in North Carolina his father was

never home but Andrew Wheeler said his father began to become more involved with the




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family while they were living in Texas. Andrew Wheeler testified they have never had a

father to son conversations.

       When the Wheeler boys were young, their father was often away; they were a

military family and he and his brother were military kids, everything felt normal, they

didn’t know anything else. Andrew did not understand that his father was trying to heal

himself.

       When Andrew Wheeler was dating his wife and moved out of the house and

married his relationship with his father improved. His father started to hug him and his

father told Andrew Wheeler and his brothers, individually, that he was sorry for his prior

conduct. When Andrew Wheeler had his first child, his father was smiling at his new

grandchild. Andrew Wheeler is now 29 years old and for most of his life he couldn’t talk

to his father but now he can. They both open up to each other now.

       Andrew Wheeler testified his father has spoken to him about “his Marines” and

his love for them. Andrew dose not resent his father’s love for “his Marines.”

       Andrew Wheeler remembers his mother crying on October 23, 1983, not knowing

if her husband was alive or dead. Andrew Wheeler remembers his mother telling him

and his brothers that their father was alive but injured. His mother told them what

happened to their father but she did not really open up to them about how she was

feeling.

       Andrew Wheeler believes that his father suffered from Post-Traumatic Stress

Disorder “PTSD” from 1983 through 2003. Andrew Wheeler also believes his father

suffers from depression, uncontrolled crying, sleep disorder, and is emotionally fragile.




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   4. JONATHAN PAUL WHEELER is Danny Wheeler’s son and he was born on

March 9, 1978. He is not married and he is not currently employed. On October 23,

1983 Jonathan Wheeler was five years old and he only remembers bits and pieces but he

knew his father was far away. Later he learned that his father was in Beirut, Lebanon.

Jonathan Wheeler remembers the night his father returned and came into their bedroom.

He remembers when he and his brothers jumped on their father and the pain it cause him.

Jonathan Wheeler remembers that his father had a tender torso. Jonathan recalls that he

was not tired anymore after he saw his father.

       Jonathan was always aware of the Beirut bombing.           His father shared his

experience of being trapped in the rubble of the building. Jonathan Wheeler testified his

father has a sermon in which he talks about parts of his Beirut experience. Since his

father was the Pastor of two parishes all his sons went to two religious services every

Sunday and they have all heard the “Beirut sermon” many times. Jonathan and his

brothers always knew the general information about Beirut and the terrorist attack. They

have read the book published on the terrorist attack in Beirut and they knew details from

reading it. His father still has the purple Advent Stole and he has told his sons “God

threw the shawl that saved him.”

               Jonathan Wheeler testified that his father cannot tolerate loud noises and

becomes very stressed around fireworks. He is a light sleeper and Jonathan testified that

when he went to the refrigerator at night for a snack his father always heard him and

would come downstairs.     Jonathan Wheeler believes his father suffers from depression

and he believes his father is overly security conscious. Every windows and door is

locked at night and the interior bedroom door is also locked. Jonathan testified that they




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always had a small dog but after returning from Beirut his father got the family a big

German Sheppard. Jonathan has seen his father cry and knows his father needs quiet

time to himself.

       Jonathan Wheeler testified that when the Wheeler family moved to Corpus

Christi, Texas, they lived on base and his father was gone a lot. Jonathan remembers his

family fighting and he remembers his mother as being quiet. Jonathon thinks his father

could have PTSD and he knows his father thinks about Beirut often. Jonathan believes

his father is calmer now. Jonathan summarized his father’s personality as up and down.

He describes his father as emotional and as a teenager he remembers his father would get

mad and yell and then ten minutes later he would come to his room and apologized to

him when he realized what he had done.

       Jonathan Wheeler really only knew his father after 1983 and he likes his father

much more since he move out of the house. Jonathan Wheeler has never spoken to his

father about emotional issues and Jonathan Wheeler never felt his father was emotionally

available to him as a child. He feels his father was very emotional. Jonathan describes

his father as calmer since the three boys moved out of the house.

       Jonathan testified that his mother had a hard time taking care of his father.

Jonathan testified that his father is sort of obsessive compulsive and likes organization.

Jonathan said his mother had a hard time dealing with his father who, Jonathan said, was

the biggest child and had temper tantrums. His mother worked too much and many times

Jonathan sided with his mother.

       Jonathan Wheeler went to college in Milwaukee and thing got better with his

relationship with his father after he moved back home. Jonathan Wheeler believes he can




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now have a conversation with his father and he believes his father is more emotionally

available. For twenty-one years his father’s problems affected him; Jonathan knows

there is something different about his father and he could see an improvement in his

father’s wellbeing starting a few years ago.

        Jonathan Wheeler has a Bachelor Degree in Fine Arts and he paints, sculpts, and

makes movies. His father was supportive of his decision to create art once he saw that he

could do it. In school, Jonathan did a short video project about Beirut and his father’s

experience and he involved his father. The movie dealt with claustrophobia. The video

made people feel claustrophobic and gave them the feeling of being in a confined space.

Jonathan had done a self-portrait of himself that people had to get up out of their seats

and look down into in order to see his face and that project caused him to do more with

the concept of claustrophobia. It was a limited focus project and the movie did not deal

with emotional trauma. Jonathan heard his father’s sermons about his Beirut experience

so many times that he began to hear more of the emotional side of the experience.

Jonathan has had dreams of claustrophobic situations.

        Jonathan Wheeler believes Beirut irreparably changed his father.        Jonathan

wonders what his grandmother thought of Danny Wheeler after he returned from Beirut.

All of Danny Wheelers sons believe their father is unique. Their father went to the

twentieth-year remembrance of Beirut and did not ask his sons to go. Jonathan knows his

father loves “his Marines” and that is understandable because he always did things to the

best of his ability.

        Jonathan testified that he remembers his mother crying on October 23, 1983, and

saying their father was dead. Jonathan Wheeler testified that his mother bought a white




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station wagon and his father never saw it or rode in it. Jonathan Wheeler wonders what

life would have been like if his father had been around and participated with the family.

Sometimes when his father was around his parents would fight so there are mixed

emotions because Jonathan did not like the fighting. Jonathan always felt like his father

had a dark side and combative. For twenty-one years Danny Wheeler has not included

his children in his emotional trauma. Jonathan feels lucky because his father is a good

person.

          When his father returned from Beirut he smoked and drank. He still drinks.

Jonathan Wheeler testified that his father has trouble making friends and he is afraid of

losing them. Jonathan remembers watching what happened in Beirut. He was not sad

when he was told his father was dead. He does not know how that has affected his ability

to make friends. Jonathan Wheeler also notes that after 1983 their family rarely visits

other relatives or other families. They have holidays at home.

          Jonathan would have nothing to tell the leaders of Iran. What they did was bad

but there are a lot of bad things in the world. He is affected by terrorism but everyone is

hurt by terrorism. He thinks about what his father went through in Beirut but it is very

far removed. He wonders why we did not do something after Beirut and instead waited

until after 9/11. Jonathan does not think of compensation. He hopes that we are blaming

the right people.

   5. BENJAMIN DANIEL WHEELER is the youngest son of Danny Wheeler and

he was born February 6, 1981. On October 23, 1983, Benjamin Wheeler was 2 ½ years

old. Benjamin Wheeler remembers that he had a sensation that something happened to

his father similar to the sensation he had when 9/11 happened. He knew something bad




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had happened to his father and he remembers watching television and knowing that his

father was in Beirut. He did not comprehend the extent and magnitude of the situation.

Benjamin Wheeler remembers when his mother went to Greece just before October 23,

1983. He has trouble remembering his father coming back but remembers feeling and

being aware that a bad thing happened to him. He does not remember talking to anyone

about the situation at the time, including his mother.

       When Benjamin got older he did research and learned what a big deal the Beirut

bombing was. Benjamin Wheeler has spoken to his father about Beirut and he has read

books on Beirut. He knows his father was the last Marine found alive and Benjamin

knows that had his father not been rescued when he was that he might have died within

five or ten minutes or an hour. Benjamin thinks it is interesting that his family is part of

history.

       Benjamin Wheeler knows his father’s body is still injured and that he still has soft

tissue damage, stomach problems, and he has scar tissue. Benjamin knows that his father

has a really bad back and tries to stay in good physical shape to avoid back problems.

       On Ash Wednesday his father has a tin can from Beirut, from the explosion,

which has a dent in it from the blast. His father fills that tin can with ashes and uses his

Advent Stole to administer ashes. His father also wears the Advent stole for Lent.

Benjamin knows his father lost a lot of friends in Beirut and that loss has hurt him

emotionally. His father told him that when he was trapped in the rubble he thought of

Brenda and his sons.

       On April 5, 2005, Benjamin Wheeler was elected Trustee of his Village,

Milltown, Wisconsin. He is the youngest Trustee ever elected in that Village. Benjamin




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is a martial arts instructor with eleven years of experience in Karate. He has his own

Karate school which he took over from the Village Chief of Police. Benjamin Wheeler is

also the Assistant Manager of the Holiday Gas Station in Milltown, Wisconsin. He has

been working since he was sixteen years old.

        Benjamin said fireworks are still a problem for his father; it brings back Beirut

memories, and he and his brothers joke about it now. His father is a little more leery of

things since Beirut. Beirut made his father angry, and yet he is still in the military.

Benjamin confirmed that his father is a light sleeper so it was hard to sneak out as a

teenager. All the doors and windows are locked, including the interior doors, and when

his father goes to a restaurant, or any public place, he wants to sit with his back to the

wall facing the door. He has paranoia and needs to see what is going on wherever he is.

        Benjamin Wheeler said his father was angry for many years after his return from

Beirut. When Benjamin was young there was a lot of family tension, and the family

fought a lot. His father is more sensitive than other fathers and more prone to get excited.

His father acts impulsively and immediately when he feels something is wrong. He does

not slow down and rationalize about the situation.         His father needs things to be

organized and on his day off his father vacuum’s the home. His father treats the Marines

as his fraternity brothers. He has a deep love for “his Marines” and is drawn to servicing

their spiritual needs.

        Benjamin Wheeler’s relationship with his father improved when he moved out at

age eighteen. He moved out in August 1999 because he could and because he wanted to

be with his girlfriend whom he later married. The family is closer now; there is humor




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around the house now that the brothers have moved out and are doing their own thing.

The family has become much closer over the past few years.

               Benjamin Wheeler knows his father was involved in a big incident in

Beirut and it was a life changing event especially with a wife and three sons. Benjamin

knows the Wheeler family went through hard times and he does not know how they made

it through it all. Benjamin’s mother has stress from the bombing, caring for her husband,

and keeping the family together. She is still affected because his father is still in the

military and they have constant reminders of Beirut. Benjamin Wheeler feels his father is

much better now. Benjamin knows that the Beirut bombing affected the whole Wheeler

family. Benjamin feels he can have a heart-to-heart discussion with his father now;

something that he and his brothers could not do years ago. His father is thankful to be

around but he has never described how things are different for him since returning from

Beirut. Benjamin knows their life would have been different if it were not for the Beirut

bombing. The Beirut bombing has always been a part of his life.

       When the terrorist attack of 9/11 took place Benjamin Wheeler was living in

Duluth and realized he needed to seek counseling for depression. 9/11 brought out things

that he has suppressed since he was very young. The first phone call he made after

seeing the attack was to his wife and then to his father because he knew they were going

to be calling up soldiers and he was on active reserve and he did not want him to go. It

was Beirut all over again but here in this country. Benjamin feels our country did not pay

attention to Beirut and did not deal with the Beirut situation well at all. It took the judge

in this litigation to finally declare who was responsible for the Beirut bombing, twenty

years is too long. Our country ignored it at the time. Benjamin Wheeler has lost friends




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before but the tragedy of 9/11 forced him to face issues in himself and his family relating

to the Beirut tragedy.

       Benjamin has experienced depression.            Since 9/11 Benjamin has sought

counseling several times. Benjamin learned to take life as it comes but his depression can

still boil up. “You cannot change some things and you must learn to live with it.”

Benjamin believes his brother, Andrew, has anger issues and Benjamin doesn’t want to

talk to his father because of the risk. It is amazing to him that the impact of the Beirut

bombing is felt worldwide. The Wheeler family has learned to deal with thing in a

lighter way because it is not going to go away.

       Benjamin’s mother has told him he missed out on really knowing his real father.

He feels his family was isolated and he hasn’t had real contact with his relatives. He

feels his father has one good friend and everyone else is an acquaintance. As a Pastor he

needs to show people he is a friendly person. Benjamin Wheeler knows his father was

close friends with the Marines in Beirut and he knows they died on October 23, 1983, and

he knows the deep impact their loss had on his father. Benjamin feels he lost out socially

by being isolated from their extended family. Benjamin has one close friend. He tries to

make friends and he has gotten “burned” so he is reluctant to make many friends.

       Benjamin went to Lake Superior Community College and he thinks he is going to

continue his education because his employer will pay for it.

       Benjamin and his brothers are very close. Benjamin feels his brother Jonathan is

“out there,” but in a good way, and he doesn’t see much of Andrew since he moved to the

suburbs; but when his brothers get together they have a good time.




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       Beirut added a lot of pressure and stress to the Wheeler family and that will

continue. The impact of Beirut is the Wheeler family history. He feels that he must do

something about what is happening today so that other people are not hurt like his family

was after the Beirut bombing.

   6. KERRY B. WHEELER is the younger brother of Chaplin Danny Wheeler. He

was first married in around 1974 and then married Betty Wheeler in 1987 and he has four

adult children.   There are four Wheeler siblings.       Their mother is Marlis (Molly)

Wheeler. Kerry Wheeler is a Vietnam combat veteran. He is employed in a dairy plant

owned by the parent company of Swiss Miss and he is a pudding maker. Kerry Wheeler

has a high school education.

   Kerry Wheeler said as children he and his brother, Danny Wheeler, had fun, they

partied a little, and had a typical childhood. Kerry Wheeler testified that as a child Danny

Wheeler did not have many friends and he was devoted to his high school girlfriend

Brenda whom he married. He was very protective of Brenda.

   Danny Wheeler went to Vietnam before Kerry Wheeler went to Vietnam. Kerry

Wheeler has never discussed his experiences in Vietnam with his brother nor has his

brother discussed his Vietnam or Beirut experiences. Prior to 1983 the Wheeler family

shared holidays with their mother and had a very close family relationship. In 1983

Danny Wheeler told the Wheeler family he was looking forward to gong to Beirut with

the Marines.

       Kerry Wheeler knew there was combat in Beirut but he didn’t know how serious

it was. He did not know there were snipers shooting at the Marines. Kerry Wheeler did

not know much about the Headquarters’ compound, and he did not think his brother




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would be at Headquarters; he thought he would be more detached but there was no such

thing in Beirut.

          On October 23, 1983 his mother, Molly Wheeler, called and told Kerry Wheeler

she saw the newscasts of the attack on television. Kerry had seen it on the newscast too.

Kerry Wheeler testified that his mother was hysterical and he immediately visited his

mother with his wife, children, and his sister Jill Wold and her husband. When Kerry

Wheeler got to his mother’s house he protected his mother from the media.

          His mother and sister made calls and learned late on Sunday that their brother was

alive but injured. For many hours Kerry Wheeler, Molly Wheeler, and Jill Wold did not

know what was going on with their brother. They only knew that their brother was

somehow affected in the explosion.

          In November 1983 Kerry Wheeler drove to North Carolina to visit his brother and

his family with his mother and sister Jill. He found his brother was suffering from neck,

back problems, and other injuries from being crushed in the rubble of the collapsed

building. Kerry Wheeler stayed for day of two and left their mother with Danny and his

family.

          Danny Wheeler told his brother that he was sleeping on the roof and ended up in

basement. He told Kerry Wheeler about his many friends who died and what a terrible

and sad experience it was. Danny asked his brother why did he survive and his assistant

sleeping next to him was killed. Danny Wheeler did not talk about how he was trapped

under the building for 5½ hours. Danny did not tell his brother what the experience of

being trapped felt like.     After the talks with his brother in November 1983, Kerry




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Wheeler and Danny Wheeler have not discussed all the friends Danny lost in Beirut. The

Wheeler brothers believe that you just do not discuss war.

       Kerry Wheeler saw an almost immediate change after the Beirut bombing. Danny

used to preach to his brother about his drinking and lifestyle but he stopped doing that

after Beirut. Before October 1983, Kerry Wheeler testified that his brother did not have

any sleep problems, he did not compulsively lock the doors and windows of his house

every night, and he did not have bouts of crying. His brother experiences all these things

since his return from Beirut. Kerry Wheeler said when his brother sees violence it bring

back memories of Beirut. Kerry Wheeler knows what Post-Traumatic Stress Disorder is

and he recognizes that his brother suffers from PTSD. Kerry knows that when his brother

does not bring up and share the trauma he experienced in Beirut that it is not healthy. It

would help his brother mentally to share some of his feelings and experiences. Kerry

Wheeler knows that a discussion with his brother about his experience in Beirut would

aggravate him just like discussions of Vietnam aggravates him, causes him anxiety, and

increases his blood pressure. So the brothers have chosen not to discuss these matters.

Knowing what his brother went through made Kerry’s blood pressure rise and it bothered

him deeply. His brother’s trauma brought back Kerry’s memories of being in a combat

unit and the trauma he experienced.

        Kerry Wheeler served in Vietnam with the 23 Infantry Division from 1970 to

1971. His mother, Molly Wheeler, lived through both of her sons being in combat and

Danny Wheeler being in a combat zone twice. Molly Wheeler knew and there was a

possibility of Danny’s further deployment and that made her nervous. She was very

concerned about her son Danny.




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       Kerry Wheeler has never talk to his sister-in-law about her husband. Kerry

Wheeler sees his brother as changed. He no longer preaches to him. Even though he

never liked him preaching to him since he does not do it any longer he realizes that is

strange. He knows his brother went to the twentieth-year remembrance of the Beirut

bombing and he believes it helped him.

       Kerry Wheeler would destroy Iran if he had the opportunity.           Kerry cannot

forgive what they did to him, his brother, his mother, his sister, and his entire family.

Kerry Wheeler is a news junkie and the current situation in Iraq bothers him. Seeing all

the young men being killed bothers him both globally and personally. The injury to his

brother brought it all home to him. He has never discussed the details of his brother's

trauma with his children. Similarly he has never discussed his experiences in combat

with his children because he did not want to burden them. He sees terrorism and events

like 9/11 and they worry him because of the risk that his brother may be called into

service as he is in the Naval Reserves. Kerry wants his brother out of the military but his

brother says it is his calling. Kerry is only discussing this because of his love for his

brother. It is very upsetting to him and his blood pressure rises.

   7. JILL WOLD is the sister of Danny Wheeler and she was born on October 11,

1960. She was married to Brent Wold on April 4, 1981 and has two daughters. She is

one of the four children of Gordon Wheeler and Marlis “Molly” Wheeler. Jill Wold

testified that Danny Wheeler was thirteen years older than her but they were raised in a

close family.

   Jill Wold remembers when her brother went to Vietnam and when he was deployed to

Beirut. Jill Wold watched television news coverage about Beirut but she did not know




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the tactical and combat situation. Jill Wold testified that Danny Wheeler and their

mother exchanged letters while he was deployed to Beirut.

       On October 23, 1983, she was visiting her mother-in-law and recalls that early

that morning, around 8 or 9 AM, she saw the initial news reports and video of the ruins of

the bombed-out building in Beirut. She watched the rescuers pull dead and wounded

Marines from the wreckage and she saw the dead Marines lined up on the ground. She

knew her older brother was there and it was a horrible event. She thought: Why would

anyone hurt him because he had three small children and was on a peacekeeping mission?

After some time it clicked that her brother was there and she called her mother, Molly

Wheeler.

       Jill Wold testified that her mother was normally a very nervous person and when

she called her mother the morning of October 23, 1983, she was agitated and sad and

needed her family around her. Her mother could not believe that her son who was a man

of God would be the subject of a terrorist act. Jill Wold believed her brother had been

killed in the attack and she thought no one could walk away for such a blast. She lost

control of herself until she heard he survived. She immediately took her family to her

mother’s house and arrived there in the early afternoon of October 23, 1983. Brenda

Wheeler called Danny Wheeler’s mother and told her that her son had been found alive,

he was injured, and in a hospital. They did not know any specifics of his condition. Jill

Wold went home that night feeling hopeful knowing that her brother had survived and he

was not mortally wounded. Within a day the Wheeler family learned the extent of

Danny’s physical injuries.




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        Jill Wold testified that prior to 1983 her brother was a good and caring person,

always punctual, and he enjoyed being around people; people like him. Jill Wold could

always count on her brother. Before Danny was deployed to Beirut Jill became the

Godmother to Danny’s youngest son, Benjamin, and her brother baptized her oldest

daughter. Danny was always willing to be there for Jill. Danny and Brenda were always

there to help Jill.

        In November 1983, Jill Wold, Kerry Wheeler, and their mother drove to

Jacksonville, North Carolina to visit Danny Wheeler and his family. Molly Wheeler was

deeply afraid that her son would be deployed again. Molly Wheeler died on August 8,

2001 and from 1983 to her death in 2001 she followed world news and when conflict

surfaced she became nervous and agitated about her son, Danny Wheeler, and the

possibility he could be deployed again. Molly Wheeler relived the stressful time in her

life every time a world conflict erupted.

        Danny Wheeler’s deployment to Vietnam, then his deployment to Beirut and the

trauma related to Beirut, have profoundly affected the Wheeler family. Jill Wold will

never forget and she is sad that her brother Danny Wheeler and his family had to go

through the Beirut experience. Jill understands how Brenda must have felt nearly losing

the love of her life. She feels that Beirut changed her brother and she testified that he is

more protective, guarded, and nervous. Danny has had some very hard years since the

bombing. He became more somber and introverted. Jill Wold recalls there were many

hard years after Beirut. After he returned from Beirut, her brother became guarded, very

protective, he began to smoke, and was nervous. About seven or eight years ago Jill

Wold saw positive changes in her brother; he became more relaxed and more fun.




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        Her brother has not discussed, in detail, his experiences in Beirut, Lebanon. He

has discussed some of his physical injuries but he has never discussed his emotional and

psychological issues. Danny suffers from his physical injuries today. He has told his

sister that he lost many friends in the bombing. When Danny Wheeler went to the

twentieth-year remembrance it helped him. Beirut is always a part of the entire Wheeler

family’s life.

        Jill believes that terrorism is a cowardly thing. To blow up people that have no

ability to defend themselves is despicable. Jill feels that sometimes we lose sight of the

fact that terrorist attacks injure real people and real families. When 9/11 happened, it

immediately brought back to her the memories of October 23, 1983, and the feeling that

she experienced thinking that her brother had been killed. She grieved for the families of

the 9/11 terrorist attack knowing there was nothing that could be done to ease their pain

besides prayer. 9/11 and the other terrorist attacks bring Jill Wold back to her memories

of the Beirut bombing. Jill is grateful that her mother did not have to experience the 9/11

terrorist attack because it would have brought her right back to what she felt when Danny

was in the bombing.

        Jill Wold believes military families have a different view of life. She remembers

October 23, 1983, and she remembers how she fell apart, was unable to make decisions,

and the sickening feeling that she had thinking that her brother had been killed. She will

never forget the fear.

                               CONCLUSIONS OF LAW

            a) Loss of Wages

        The Special Master has not received any evidence of lost wages.




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           b) Pain and Suffering

       There is evidence of extreme pain and suffering endured by Danny Gordon

Wheeler from immediately after the attack to the present time. In addition, Danny

Wheeler has endured severe Post-Traumatic Stress Disorder resulting from the attack on

October 23, 1983, which has continued to the present and will remain with significant

affects upon Danny Wheeler for the remainder of his life. The Special Master takes

judicial cognizance that the United States Life Tables published by the National Center

For Health Statistics in 2003, National Vital Statistics Reports, Vol. 54, No. 14, April 19,

2006, sets forth the statistical life expectancy for a white male age 58 years old can be

expected to live 22.1 years. From October 23, 1983 to the present Danny Wheeler has

suffered twenty-three years of severe emotional, psychological, and physical pain and,

pursuant to the above calculation, Danny Wheeler is expected to suffer a total of more

than forty-five years of pain and suffering as a direct result of the injuries and the trauma

he experienced on October 23, 1983. The Special Master concludes as a matter of law

that the appropriate compensation for Danny Wheeler for his physical injuries and

emotional injuries, including the Post-Traumatic Stress Disorder, is $20,000,000.00 and

that judgment should be entered in that amount for pain and suffering to date and for the

remainder of his lifetime.

           c) Solatium

       The Foreign Sovereign Immunities Act provides for an award of solatium

consisting of emotional injury inflicted upon the persons other than the person physically

injured by the actions of the defendants and/or their agents. As the Court noted in the

Flatow, 999 F.Supp. 1 (1998), this is an item of damages which belongs to the individual




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personally for the emotional injury intended to be inflicted upon the family of the person

suffering direct physical injury, including injury to the feelings and loss of comfort and

society as a result of the emotional damage inflicted upon the person physically injured.

The unexpected quality of the occurrence may be taken into consideration in gauging the

emotional impact of those related to the person who was himself physically injured.

Jenco v. Iran, 154 F. Supp.2d 27 (2001). In this case the impact upon the parents,

brothers, and sisters of Lovelle D. Moore was profound and its duration of more than 23

years leads the Special Master to conclude that these injuries are permanent in

accordance with Estate of Underwood v. National Credit Unit Administration, 665 A. 2d

621 (D.C. 1995). That Special Master concludes as a matter of law that the following

amounts are appropriate compensation for this element of damages: Brenda June Wheeler

(wife) $15,000,000.00; Andrew Wheeler (son) $15,000,000.00; Jonathan Wheeler (son)

$15,000,000.00; Benjamin Wheeler (son) $15,000,000.00; the Estate of Marlis “Molly”

Wheeler, Deceased, (mother) $15,000,000.00; Kerry Wheeler (brother) $10,000,000.00;

and Jill Wold (sister) $10,000,000.00.

Date: August 29, 2006



                                            S/S
                                     _____________________________________
                                     Loraine A. Ray,
                                     Special Master




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